          Case 8:03-cr-00184-JSM-AAS Document 521 Filed 05/06/08 Page 1 of 5 PageID 1952
                             -
A 0 245B R e v 06/05) Sheet I Judgment in a Criminal Case


                                 UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                             TAMPA DMSION



UNITED STATES OF AM ERICA                                           AMENDED JUDGMENT LN A CRIMINAL CASE

                                                                    CASE NUMBER: 8:03-cr-I 84-T-30EAJ
                                                                    USM NUMBER: 41 193-018
\IS.




KELVIN 'TURNER
                                                                    De-s     Attorney: James W. Smith, Dl, cja.

THE DEFENDANT:

        pleaded guilty to countfs) One of the Superseding Indictment.
-pleaded nolo contendere to muas) which was accepted by the cwn
       was formd guilty on count(s) after a plea of not guilty.


TITLE & SECTION                          NATURE OF OFFENSE                                 OFFENSE ENDED              COUNT
2 I U.S.C. 846                           Conspiracy to Possess Wirh h e                    May 6, 2003                One
                                         Intent to Distribute 5 Kilograms
                                         or More of Cocaine and 50 Grams
                                         or More of' Cocaine Base

        The defendant is sentenced as provided m pages 2 through 5 of [his judgmenl. The senrence IS imposed pursuant to the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count@)
- C o w s ) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district witbin 3Ways of any chauge
of name, residence. or mailing address until all fines, restitution, costs, and special assessments imposedby thisjudgment are fully paid.
If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                  Date of Imposition of Original Sentence: March 1 2.2094




                                                                                  WD
                                                                                   STATES DIST~ICT                    JUDGE

                                                                                      6
                                                                                  DATE; May             ,2008
       Case 8:03-cr-00184-JSM-AAS Document 521 Filed 05/06/08 Page 2 of 5 PageID 1953

A 0 245B (Rev 06105) Sheer 2 - Lrnprisonment
Defendant:         KELVIN TURNER                                                                              Judgment - Page   oF 5
Case No.:          8:03xr-184-T-30EAJ




         T h e defendant's sentence has been reduced pursuant to Amendment 706 and 71 1 and U.S.S.G. 5 lB1.lO.

       The defendant is hereby committed to the custody of the United Stales Bureau of Prisons to be
imprisoned for a total term of ONE HUNDRED and TWENTY (120) MONTHS as to Count One of the Superseding
Lndictment.

        As stipulated to by the parties, the Court imposes a ten-day delay for the Bureau of Prisons in the effective date
of any resentence that results in the defendant's immediate release.



- The court makes the following recommendations to the Bureau of Prisons:



X The defendaur is remanded lo rhe cusrody of rbe United Stares Marshal.
- The defendant shall surrender to Lhz United States Marshal for this district.
          - at - a.m.1p.m. on -.
          - as noufied by rhe Umred States Marshal
-T b t defendam shall surrender for service of sentence at h e insrirurion designated by the Bureau of Prisons.
              before 2 p.m. on -.
          - as notified by h e Uniled Srates Marshal.
          - as notified by the Probation o r Prerrial Services Ofice.




          J have executed this jud,ment as follows




            Defendant delivered on                                                 to                                             at

                                                                         . \( iih a certified copy of this judgmenc.


                                                                                              Cfniced States Marsllal

                                                                        By:

                                                                        Depuv I I a r h a l
       Case 8:03-cr-00184-JSM-AAS Document 521 Filed 05/06/08 Page 3 of 5 PageID 1954
A 0 24jB (Rev. 12/03) Sheer 3 - Supenised Release

Defendant :           KELVIN TURNER                                                                                                 Judgment - Page 3 of 5
Case KO.:             8:03-cr- 184-T-30EN
                                                                   SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a tetm of FIVE (5) YEARS as to
Count One of the Superseding Indictment.

        The defendant shall report to the proba~ionoffice in the disrricr to which the defendanr i s released wirkin 72 hours of release
from [he c u r t x l ! of the Bureau of Prisons.

The drlendmt 5hdIl no1 commlr anoher federal, state, or local crlrnt.
The dclcndmr shall not illegally possess a c o n l ~ o l k d\ u h r m i e The defendanr shall refram horn any unlawful use of a controlled
substance The Jeiendant shall subrnir ro onc drug tecr u ~ r h ~15nrl,l! nt ielexe rrom ~mprisonmcntand at least two periodic drug tests
hereafter, as dererrnined by the court

  X        The above drug testing cvndition is \uspc.nded, based on rhe coun's determination that rhe defendanr poses a low risk of future
           substance abuse

           The defendant shall nor possess a firearm, desrrucrive device, or any other dangerous weapon.

            If rlus judgmenr imposes a fine or a restirution ir is a condirion of supervised release that rhe defendanr pay in accordance wirh
            the Schedule of Payments sheer of ~s jud,omenr.

            The defendml shall comply wirh ihc standard conditions that hat E: been adopted by this courr as well as with an! adciitiond
            conditions on the artached page.

                                                   STANDARD COSDITIONS OF SUPERVISION
            h e del'endanr shall no! l a \ e r l x jurliciiil d i w i i r :\ idlexi; rhc ji;.nni-.ic~n o f d i e court or probation otl'icer;

            rhe defendant shall rcpori ro Ihc probation otticer and shall submic a truthful and compleie written rcpon within the first 5v-z days oC each
            ~il~>~itl~:

            rIw ~!cfi-ndnnri h ~ l answcr
                                   l      trurhhlly all inquiries by the probarion oHicei and follow rhc instrucrions of rhe pri)bation off~cer;



            rhe defendant shall work regularly at a lawful nccuparion, unless excused by the probation ollicer for ~ ~ t ~ ~ ~rra~ning.
                                                                                                                               l i i i g .or other
            acccptablc rcasons.

            rhe defendant shall notify t h e probanon officer ac last ten days prior ro any changc in rcsidcncc or cmplnyment;




            :tic dekncisn! shall not associate wich an!- persfins i-ngagurl ir! criminal activity and shall not associatc with any person convicted of a
            ?c.I\!ny. units, frdnred permission to do >n h! !hc pr-->h.~[r~lri
                                                                             citiii~i:




            the dcfendanr shall nonfy rhe probatinn nficer within set-enry-tir.0hours of being arresred or questioned by a Ian- enforcemen[ oi3cer;
      Case 8:03-cr-00184-JSM-AAS Document 521 Filed 05/06/08 Page 4 of 5 PageID 1955
A 0 245B (Rev 06/05) Sheer 5 - Cr~minalMone~aryPenalries

Defendant:          KELVIN TURNER                                                                    Judgment - Page 4 of 5
Case iio. :         8.03-cr- 184-T-30EN

                                           CRIMINAL IMONETARY PENLTIES

          The defendant musr pay the tocal criminal m c m r s n pendries under h e schedule of payments on Sheet 6.
                             Assessment                           Fine                      Total Restitution

          Totals:                                                 Waived


          The deterniination of restitution is deferred until -.            An Amended Judgment in a Criminul Case ( A 0 245C) will
          be entered after such determination.
          The defendant rnusr make restitution (including community restirution) to the following payees in the amount listed
          below.
          If the defendant makes a partla! pa! mrnt. c..iih pa! re \hall rcsci\e an approximately proporrioned payment, unless
          specified odlenvise in h e priorit) urder (or wrcsntapt. pslnxnt column below. However, pursuant LO 18 LI S C 6
          3664(1), all nonfederal vicrirns rnmr he p l d hcloia 111e I n1ri.d Smres.
                                                                                                               Priority Order or
                                                 T o ta 1                      Amount of                       Percentage of
Name or Pavee                                  Amount of Loss               Restitution Ordered                Pavment




                             Torals:

          Restitution amount ordered pursuanr ro plea agreemenr S
          The defendant shall ay inrerest on any h e or resri~utionof more rhan $2,500, unless the restitution or fine is paid in h l l
          before d ~ fifteenth
                     e         2
                               ay afrer the date of the judgmenr, pursuant to 18 U . S. C. $36 12(f). All of the payment options on Sheel
          6 may be subjecr to penalries for delinquency and defaulr, pursuant to 18 U.S.C. 5 36 12(g).
          The coun determined char h e defendanr does nor have the abilicy to pay inreres~and ir is ordered that:
                    h e interest requiremenr is waived for the       fine   - resrnution
                    (he inrerest requiremcnr for the       fine   - res~iru~ion
                                                                             is modified as follows:


* Findings for rhe total arnounr of losses are required under Chapters 109A, 1 10, 11OA , and 113A of Tide 1 8 for the offenses commi ired
on or afrer September 13, 1994, bur before April 23. 1996.
     Case 8:03-cr-00184-JSM-AAS Document 521 Filed 05/06/08 Page 5 of 5 PageID 1956
A 0 2458 (Rev 06/05) Sheer 6 - Schedule of Payments

Defendant :       KELVIN TURNER                                                                      J ud,gnent - Page 5 of 5
Case No. :        8:03xr- 184-T-30EAJ



                                                 SCHEDULE O F PAYRIIENTS



Having assessed the defendant's ability to pay, pal-menr of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due immediately, balance due
                            -noi later than                    , Or

                            - in accordance            C. - D. - E or                 F below; or
                  Payment to begin immediately (may be combined with                   C.       D, or -F below); or
                  Payment in equal                  (e.g., weekly, monthly, quarterly) installments of S             over a
                  period of          (e.g., rnonrhs or years), LO commence              days (e-g., 30 or 60 days) after the
                  date of this judgment: or

         -        Payment in equal                (e.g., weekly, monthly, quarterly) installmenrs of $               over a
                  period of
                               . (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                  from imprisonment ro a wrn of supenlision: or
                  Payment during the term of supervised release will commence within                          ( e . g . : 30 or
                  60 days) afcer release from imprisonment. The court will set the payment plan based o n an assessment of
                  che defendant's ability to pay at that time, or

         -        Special instructions regarding rhe payment of criminal monetary penal ties:




Unless the court has expressly ordered otherwise, if this judoment imposes a period of im                          payment of criminal
monetary penallies is due during imprisonment. All c n m d monetary penalties, except                                made t h u g 1 1 the
Federal Bureau of Prisons' Lnmate financial Responsibility Program, are made to the
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several A mount. and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court cost(s):
-        The defendant shall forfeit d ~ defendant's
                                         e           interest in the tollowing property to d ~ United
                                                                                               e      States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property,
                                                                                                    X 2'
or portions thereof, subject to forfeiture, which are in the possession or control of e efendant or [he defendants
nominees.



Payments shall be applied in b e Collowing order: (1) assessmen(, (2) restiru~ionprincipal, (3) restitution interest, (4) Tie p ~ c i p a l ,
(5) community resrirurion, (6) fine inrerest (7) penalties, and (8) cosrs, including cost of prosecurion and courr cosrs.
